             Case 22-33553 Document 685 Filed in TXSB on 06/07/24 Page 1 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ALEXANDER E. JONES,                                              ) Case No. 22-33553 (CML)
                                                                     )
                             Debtor.                                 )
                                                                     )

                        NOTICE WITH RESPECT TO CREDITORS’ PLAN

        PLEASE TAKE NOTICE that on January 22, 2024, the Official Committee of Unsecured
Creditors (the “Committee”) appointed in the above captioned chapter 11 case (the “Jones Case”),
the Connecticut Plaintiffs,1 and the Texas Plaintiffs2 (collectively, the “Creditor Plan Proponents”)
filed the Creditors’ Non-Uniform Individual Chapter 11 Plan of Liquidation for Alexander E. Jones
[ECF No. 562] (as may be amended, the “Creditors’ Plan”).

       PLEASE TAKE FURTHER NOTICE that on January 22, 2024, the Creditor Plan
Proponents filed the Specific Disclosure Statement for the Creditors’ Non-Uniform Individual
Chapter 11 Plan of Liquidation for Alexander E. Jones [ECF No. 563] (as may be amended, the
“Specific Disclosure Statement”).

       PLEASE TAKE FURTHER NOTICE that on January 25, 2024, the United States
Bankruptcy Court for the Southern District of Texas (the “Court”) entered the Order (I)
Approving the Disclosure Statement on a Conditional Basis; (II) Approving the Solicitation
Procedures; (III) Approving the Form of Ballot and Opt-Out Form; and (IV) Approving Certain
Dates and Deadline in Connection with Solicitation of the Creditors’ Plan [ECF No. 578],
conditionally approving the Specific Disclosure Statement for use by the Creditor Plan
Proponents in soliciting acceptances or rejections of the Creditors’ Plan.

        PLEASE TAKE FURTHER NOTICE that on January 29, 2024, the Creditor Plan
Proponents filed the Notice of Filing of Solicitation Version of the Specific Disclosure Statement
for the Creditors’ Non-Uniform Chapter 11 Plan of Liquidation for Alexander E. Jones [ECF No.
587], attached to which was the solicitation version of the Creditors’ Plan.

     PLEASE TAKE FURTHER NOTICE that on February 2, 2024, counsel to the
Committee filed the Affidavit of Service of Solicitation Materials [ECF No. 596] indicating that


1
  The “Connecticut Plaintiffs” are (i) David Wheeler; (ii) Francine Wheeler; (iii) Mark Barden; (iv) Jacqueline Barden;
(v) Nicole Hockley; (vi) Ian Hockley; (vii) Jennifer Hensel; (viii) Donna Soto; (ix) Carlee Soto-Parisi; (x) Carlos M.
Soto; (xi) Jillian Soto Marino; (xii) William Aldenberg; (xiii) William Sherlach; (xiv) Robert Parker; and (xv) Erica
Ash.
2
  The “Texas Plaintiffs” are: (i) Neil Heslin; (ii) Scarlett Lewis; (iii) Leonard Pozner; (iv) Veronique De La Rosa; and
(v) the Estate of Marcel Fontaine.
         Case 22-33553 Document 685 Filed in TXSB on 06/07/24 Page 2 of 5




the solicitation versions of the Creditors’ Plan and Specific Disclosure Statement had been served
as provided therein.

       PLEASE TAKE FURTHER NOTICE that on February 16, 2024, counsel to the
Committee filed the Declaration of Sara L. Brauner Regarding the Solicitation of Votes and
Tabulation of Ballots and Opt-Out Forms Submitted in Connection with the Creditors’ Non-
Uniform Chapter 11 Plan of Alexander E. Jones [ECF No. 604] indicating that the plan had been
approved by virtually all creditors entitled to vote.3

       PLEASE TAKE FURTHER NOTICE that on May 24, 2024, the Creditor Plan
Proponents filed a further revised version of the Creditors’ Plan reflecting certain changes to
account for informal comments from various parties in interest [ECF No. 679] to be considered at
the hearing previously set for June 14, 2024.

       PLEASE TAKE FURTHER NOTICE that, notwithstanding overwhelming creditor
support for the Creditors’ Plan, in light of current circumstances in the Jones Case, the Creditor
Plan Proponents do not intend to pursue confirmation of the Creditors’ Plan and, instead, support
conversion of the Jones Case to chapter 7. For the avoidance of doubt, however, the Creditor Plan
Proponents reserve all rights with respect to the Creditors’ Plan.



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3
 Of the 23 ballots distributed in respect of the Creditors’ Plan, 21 ballots were returned, and each returned ballot
was a vote in favor of such plan. One unreturned ballot belongs to a creditor that withdrew its claim shortly after
solicitation. The other unreturned ballot belongs to the City of Austin in the amount of $86.60.

                                                           2
        Case 22-33553 Document 685 Filed in TXSB on 06/07/24 Page 3 of 5




Dated: June 7, 2024


/s/ Marty L. Brimmage, Jr.                        /s/ Ryan E. Chapple
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                                            3
      Case 22-33553 Document 685 Filed in TXSB on 06/07/24 Page 4 of 5




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                                               4
        Case 22-33553 Document 685 Filed in TXSB on 06/07/24 Page 5 of 5




                                CERTIFICATE OF SERVICE

        I certify that on June 7, 2024, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                            /s/ Marty L. Brimmage, Jr.
                                                            Marty L. Brimmage, Jr.
